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     Attorneys for Lead Plaintiff
12   New Zealand Methodist Trust Association

13                               UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15
     CASEY ROBERTS, Individually and On              No. 3:19-cv-03422-SI
16   Behalf of All Other Similarly Situated,
                                                     CLASS ACTION
17                                      Plaintiff,
                                                     NOTICE OF CHANGE IN COUNSEL
18
              v.
19                                                   Hon. Susan Illston
     ZUORA, INC., TIEN TZUO, and TYLER               Courtroom 1, 17th Floor
20   SLOAT,

21                                   Defendants.
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 1            PLEASE TAKE NOTICE that Danielle Smith (SBN 291237) is no longer affiliated with the

 2   law firm Hagens Berman Sobol Shapiro LLP. Pursuant to Local Rule 5-1(c)(2)(C), the firm hereby

 3   withdraws her appearance in this matter as counsel for Plaintiffs and further requests that: (a) her name

 4   be removed from any applicable service list herein; and (b) that the Clerk terminate the delivery of all

 5   CM/ECF notices addressed to danielles@hbsslaw.com in the above-captioned case.

 6            Hagens Berman Sobol Shapiro LLP will continue to represent Plaintiffs in this matter. No other

 7   changes are requested at this time regarding Plaintiffs’ counsel of record.

 8   Date: April 15, 2022                          Respectfully Submitted,

 9                                                 /s/ Reed R. Kathrein
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     NOTICE OF CHANGE IN COUNSEL - 1
     Case No. 3:19-cv-03422-SI
     010837-11/1877736 V1
